                            United States District Court
                           Middle District of Pennsylvania
                               Harrisburg Division

The PUBLIC INTEREST LEGAL
FOUNDATION

                                             Plaintiff,
    v.

ROBERT TORRES, in his official capacity as
Acting Secretary of the Commonwealth of         No. 1:18-cv-00463-CCC
Pennsylvania, and JONATHAN M. MARKS,
in his official capacity as the Commissioner of
the Bureau of Commissions, Elections, and
Legislation

                                        Defendants.



                    Plaintiff Public Interest Legal Foundation’s
                    Consent Motion for Leave to File Sur-Reply

         Plaintiff Public Interest Legal Foundation (the “Foundation”) respectfully

moves for leave of court to file a sur-reply in response to Defendants’ Reply

Memorandum in Further Support of Motion to Dismiss (Dkt. 17).

   I.       Local Rule 7.1 Certification

         Pursuant to Local Rule 7.1, counsel for the Foundation sought concurrence

in the motion from counsel for Defendants. The Foundation is authorized to state

that Defendants concur in the Foundation’s request for leave to file the attached




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brief and exhibits. Should Defendants seek leave to file a memorandum in response

to the Foundation’s sur-reply, the Foundation concurs with that request.

   II.      Grounds for the Foundation’s Request for Leave

         Leave should be granted to allow the Foundation to present new evidence

not available to the Foundation by the deadline to file its memorandum in response

to Defendants’ Motion to Dismiss (Dkt. 14). The newly discovered evidence

addresses and contradicts legal and factual assertions made by Defendants for the

first time in their reply memorandum and will therefore assist the court in resolving

Defendants’ Motion to Dismiss. For these reasons, leave to file the attached sur-

reply is warranted.

         This Court’s local rules require permission to file memoranda beyond those

permitted by the rules. M.D. Pa. L.R. 7.7. “It is fully within this Court’s discretion

to grant leave to file a Surreply where, as here, it includes information that enables

this Court to more fully and fairly decide a particular issue.” Walsh v. Irvin Stern’s

Costumes, No. 05-2515, 2006 U.S. Dist. LEXIS 2120, at *36-37 (E.D. Pa. Jan. 19,

2006); see also Iseley v. Beard, No. 1:CV-02-2006, 2010 U.S. Dist. LEXIS 30677,

at *7-8 (M.D. Pa. Mar. 30, 2010) (granting leave to file sur-reply to “allow

Defendants the opportunity to address the claim raised … [in the] reply brief”).

         Plaintiff’s response to Defendants’ Motion to Dismiss was due on April 18,

2018. (Dkt. 14.) On April 27, 2018, the Pennsylvania Department of State released


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a statement to the media concerning its activities to identify and remove

noncitizens who are registered to vote (hereafter, the “Statement,” attached as

Exhibit A). The Statement explains that prior to the end of 2017, “an intense data

analysis and process was conducted that yielded a responsible list of individuals

for whom voter registration status required further confirmation.” Exhibit A at 1.

The Statement continues, “As a result of that work, the Department of State is

mailing the attached letter today to 7,702 individuals whose citizenship status

merits further due diligence.” Id. A copy of the letter referenced in the Statement is

attached as Exhibit B.

      Defendants reply memorandum was filed on May 2, 2018, (Dkt. 17), five

days after the Defendants mailed letters to 7,702 registrants suspected of having

issues with their citizenship status as it relates to voter registration. Despite full

knowledge of these activities, Defendants state in their reply brief that they possess

“no documents” concerning “communications with registrants and third parties

concerning cancellation of non-citizen registrants.” (Dkt. 17 at 12 n.8.) Defendants

further state that “the Commonwealth does not have a systematic removal program

regarding non-citizens and therefore there are no documents responsive to PILF’s

request for such records.” (Id.)

      The Statement, along with the attached letter (Exhibit B), contradict

Defendants’ claims regarding the existence and scope of responsive records and


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Defendants’ activities concerning voter list maintenance. Because the Statement

and the letter were unavailable to the Foundation prior to the date its responsive

memorandum was due, it could not have addressed them or presented them to the

Court. This Court should therefore grant the Foundation’s motion for leave and

accept for filing the attached sur-reply.



Dated: May 8, 2018


Respectfully submitted,

For the Plaintiff Public Interest Legal Foundation:


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    CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)(3)

      I hereby certify that the foregoing memorandum is in compliance with Local

Rule 7.8(b)(2). The brief contains 598 words as computed by the word-count

feature of Microsoft Office Word.



                                           /s/ Noel H. Johnson
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